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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                   8:06CR315

       vs.
                                                                      ORDER
TONYA WRIGHT HERNANDEZ,

                      Defendant.


Defendant Tonya Wright Hernandez appeared before the court on Monday, April 18, 2014 on a
Petition for Warrant or Summons for Offender Under Supervision [200]. The defendant was
represented by Assistant Federal Public Defender Michael F. Maloney on behalf of Julie B.
Hansen, and the United States was represented by Assistant U.S. Attorney Susan T. Lehr on
behalf of Kimberly C. Bunjer.       The government did not request detention therefore, the
Defendant was not entitled to a preliminary examination. The defendant was released on current
terms and conditions of supervision.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.
       IT IS ORDERED:
       1.     A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on June 19, 2014 at 11:30 a.m. Defendant must be present in person.
       2.     The defendant is released on current conditions of supervision.




       Dated this 28th day of April, 2014.

                                                   BY THE COURT:
                                                   s/ F.A. Gossett, III
                                                   United States Magistrate Judge
